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                              UNITED STATES DISTRICT COURT ....    lODGED __ RfcrnlFO

                                       DISTRICT OF MARYLAND                         JAN 2 9 2009
                                         NORTHERN DIVISION


Carl Martin,


                        Plaintiff,                      Civil Action No.:
        v.

G.c. Services, LP,


                        Defendant.



                                            COMPLAINT

                For this Complaint, the Plaintiff, Carl Martin, by undersigned counsel, states as

follows:

                                           JURISDICTION


           1.   This action arises out of Defendant's repeated violations of the Fair Debt

Collections Act, 15 U.S.c.    S 1692, et seq.   ("FDCPA"), and the invasions of Plaintiffs personal

privacy by the Defendant and its agents in their illegal efforts to collect a consumer debt.

        2.      Venue is proper in this District pursuant to 28 U.S.C.      S   1391(b), in that Defendant

transacts business here and a substantial portion of the acts giving rise to this action occurred

here.

                                                    PARTIES

           3.   Plaintiff, Carl Martin (hereafter "Plaintiff'),   is an adult individual residing at 1328

Myrtle Avenue, Apartment Two, Baltimore, Maryland 21217, and is a "consumer" as the term is

defined by 15 U,S'c.   S   1692a(3).
        4.      Defendant G.c. Services, LP (hereafter "Defendant"), is a foreign limited

partnership with an address of 6330 Gulfton, Houston, Texas 77081, operating as a collection

agency, and is a "debt collector" as the term is defined by 15 U.S.c.          S   1692a(6).


        5.      The names of the individual collectors are unknown but they will be added by

amendment when determined through discovery.


                                         FACTUAL ALLEGATIONS


        6.      Plaintiff incurred a financial obligation that was primarily for family, personal or

household purposes, and which meets the definition ofa "debt" under 15 U.S.C.                  S 1692a(5).

        7.      Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Plaintiff.


        8.      The Defendant then began attempts to collect this debt from the Plaintiff, which

was a "communication" as defined in 15 U.S.c.         S 1692a(2).

        9.      The Defendant made telephone calls repeatedly, causing the phone to ring in.

Plaintiffs home on numerous occasions, in violation of 15 U.S.C.             S 1692d(5).

        10.     The Defendant contacted the Plaintiffs neighbors on more than once occasion

and failed to state the reason for each call was to confirm or correct location information, in

violation of 15 U.S.c.   S   1692b(l) and (b)(3).

        11.     The Defendant attempted to contact the Plaintiff during unusual and inconvenient

times, calling late at night, in violation of 15 U.S.C.   S   1692c(a)(l).


        12.     The Defendant did not validate the debt at any time, failing to send a 30-day

validation notice within five days of the initial communication, in violation of 15 U.S.C.             S
1692g(a)(1), g(a)(2), g(a)(3), g(a)(4) and g(a)(5).
         13.     The Plaintiff has suffered actual damages as a result of these illegal collection

communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,

embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy at the Plaintiff s home.


                                              COUNT I
           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                           15 U.S.C. ~ 1692, et seq.
         14.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.


         15.     The Defendant intended to harass the Plaintiff by repeatedly causing a telephone

to ring and engaging the Plaintiff in conversation, in violation of 15 U.S.C.    S 1692d(5).

         16.     The Defendant contacted third parties without stating the reason for the contact

was to confirm or correct location information, in violation of 15 U.S.C.     S 1692b(l).

         17.     The Defendant contacted third parties in regard to the Plaintiff s debt on more

than one occasion, without being asked to do so, in violation of 15 U.S.C.      S 1692b(3).

         18.     The Defendant contacted the Plaintiff after 9 p.m. at night, in violation of 15

U.S.C.   S 1692c(a)(l).

         19.     The Defendant did not send a validation notice to the Plaintiff containing the

amount of the debt, the name of the creditor to whom the debt was owed, the Plaintiff s right to

dispute the debt, the Plaintiff s right to have verification mailed to him, or the Plaintiff s right to

receive the name and address of the original creditor, in violation of 15 U.S.C.    S 1692g(a)(l),
g(a)(2), g(a)(3), g(a)(4) and g(a)(5).
          20.   The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCP A, including everyone of the above-cited provisions.


          21.   The Plaintiff is entitled to damages as a result of Defendant's violations.


                                             COUNT II


     VIOLATIONS       OF THE MARYLAND CONSUMER                   DEBT COLLECTION              ACT
                           MD. CODE COMM. LAW ~ 14-201, et seq.
          22.   Plaintiff incorporates by reference all of the above paragraphs ofthis Complaint

as though fully stated herein.


          23.   The Defendant is a "collector" as defined under MD. Code Corom. Law           S   14-

201(b).


          24.   The debt is a "consumer transaction" as defined under MD. Code Corom. Law ~

14-201(c).


          25.   The Defendant repeatedly contacted the Plaintiff's neighbors about his debt,

disclosing information with knowledge that the Plaintiff's neighbors did not have a legitimate

business need for the information, in violation of MD. Code Comm. Law        S   14-202(5).


          26.   The Defendant contacted the debtor at hours known to be inconvenient, calling

after 9 p.m. in the evening, in violation of MD. Code Comm. Law ~ 14-202(6).


          27.   The Plaintiff suffered emotional distress and mental anguish as a result of the

Defendant's repeated contact.


          28.   The Plaintiff is entitled to damages proximately caused by the Defendant's

violations.
                                                 COUNT III

                  INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

        29.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.


        30.     The Restatement of Torts, Second,    S 652(b)   defines intrusion upon seclusion as,

"One who intentionally intrudes ... upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person."


        31.     Maryland further recognizes the Plaintiff s right to be free from invasions of

privacy, thus Defendant violated Maryland state law.


        32.     Defendant intentionally intruded upon Plaintiffs right to privacy by continually

harassing Plaintiff with phone calls to his home during unusual hours and be repeatedly calling

Plaintiff s neighbors.


        33.     The telephone calls made by Defendant to Plaintiff were so persistent and

repeated with such frequency as to be considered, "hounding the plaintiff," and, "a substantial

burden to her existence," thus satisfying the Restatement of Torts, Second,     S 652(b)   requirement

for an invasion of privacy.


        34.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

        35.     As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendant.
           36.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                                COUNT IV

                 VIOLATION OF THE MARYLAND STATUTE OF LIMITATIONS
                     MD. COURTS & JUD. PROC. CODE ANN. ~ 5-101 et seq.
           37.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.


           38.     The Defendant violated the Maryland statute oflimitations       by attempting to

collect a debt that was more than three years old, in violation of MD. Courts & Jud. Proc. Code

Ann. S 5-101.


           39.     The Defendant attempted to collect on a debt that was barred by the Maryland

Statute of Limitations and, as such, should be prevented from attempting any further collection

efforts.


                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                       1. Actual damages pursuant to 15 U. S.C. S 1692k(a)( 1) against Defendant;

                      2. Statutory damages of$I,OOO.OOpursuant to 15 U.S.C. SI692k(a)(2)(A)

                          against Defendant;

                      3. Costs oflitigation and reasonable attorney's fees pursuant to 15 U.S.C. S

                          1692k(a)(3) against Defendant;

                      4. Actual damages pursuant to MD. Code Comm. Law S 14-203;

                      5. Actual damages from Defendant for the all damages including emotional

                          distress suffered as a result of the intentional, reckless, and/or negligent
                     FDCP A violations and intentional, reckless, and/or negligent invasions of

                     privacy in an amount to be determined at trial for Plaintiff;

                 6. Punitive damage; and

                 7; Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: January 21,2009


                                             Respectfully submitted,

                                             By /s/ Andrea Colender

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